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 8                                 UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11 UNITED STATES OF AMERICA, et al.                       Case No. 1:22-cv-00924-ADA-CDB
12                 Plaintiffs,                            ORDER RE THE NOTICE OF THE UNITED
                                                          STATES OF AMERICA’S ELECTION TO
13         v.                                             DECLINE INTERVENTION
14 HOWARD D. KOOTSTRA, et al.                             ORDER UNSEALING ALL FILINGS AND
                                                          UNSELAING THE CASE
15                 Defendants.
                                                          (Doc. 16)
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18         The United States having notified the Court of its decision not to intervene in this action,
19 the Court hereby orders, as follows:

20              1. The relator may maintain the action in the name of the United States; providing,
21                 however, that the action may be dismissed only if the court and the Attorney
22                 General of the United States, give written consent to the dismissal and their
23                 reasons for consenting;
24              2. In the event that should either the relator or the defendant propose that this action
25                 be dismissed, settled, or otherwise discontinued, this Court will provide the
26                 United States with notice and an opportunity to be heard before ruling or granting
27                 its approval;
28              3. All pleadings filed and orders issued by the Court in this action shall be served



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 1                  upon the United States;
 2               4. The United States shall reserve its rights to order any deposition transcripts, to
 3                  intervene in this action, for good cause, at a later date, and to seek the dismissal of
 4                  the relator’s action or claim; and
 5               5. The United States shall be served with all notices of appeal.
 6         The Clerk of Court is DIRECTED to unseal all filings and unseal the case.
 7 IT IS SO ORDERED.

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        Dated:     October 27, 2023                              ___________________                  _
 9                                                           UNITED STATES MAGISTRATE JUDGE

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